            Case 1:19-cr-00373-PGG Document 220 Filed 01/28/20 Page 1 of 1




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January 28, 2020

VIA ECF

The Honorable Paul G. Gardephe
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
Courtroom 705
New York, New York 10007

Re: United States v. Michael Avenatti
    Case No. (S1) 19-CR-373 (PGG)

Your Honor:

I write on behalf of myself and Whitney R. O’Byrne, counsel for Non-Party and Subpoenaed Person
Gary S. Franklin in the above-referenced mater, to respectfully request and move for permission to bring
electronic devices to court during the upcoming trial. Mr. Franklin is on the Government’s witness list
and is expected to testify at some point during the trial. The devices, which are identified in the
accompanying proposed order, will assist me and Ms. O’Byrne in our representation of Mr. Franklin.
Further, the devices contain case materials and attorney work product that may be pertinent to the trial.

Respectfully submitted,



Michael J. Proctor

cc:    All Parties (by ECF)
